Case 5:24-cr-00362-SLP Document14-1 Filed 09/05/24. Pageiofi1

(yur +— CRIMINAL COVERSHEET 5 L_ P

U.S. District Court, Western District of Oklahoma

Petty [_ | Misdemeanor [| Felony lV USAO No.: Case GR C 4 = 3 6 e

Charging Document: Indictment No. of Defendants: 3 Total No.of Counts:_11 Sealed: Y [V]
Forfeiture: Y[_] OCDETF:¥[_] McGirt: ¥ [_] Warrant["] Summons[_] Notice[¥] NL]
N Ni¥] N lv! Companion Case No. (if any):
DEFENDANT INFORMATION: By: DR
Name: JOSE ADRIAN HERMOSILLO SEP 05 2624
Alias(es):Scrappy Loc Address:
FBI No.:
DOB: 2002 SSN: XXX-XX-5497 Race: Hispanic Interpreter: Y [¥] N{_|
Sex: M F [| Juvenile: Y [| N Language/Dialect: Spanish
PRIOR MAGISTRATE

DEFENDANT STATUS/RECOMMENDATION: JUDGE PROCEEDINGS:

[| Not in Custody lV] Detention Requested Complaint: Y lV] N [|

LI Type of Bond: Magistrate Judge Case No.: MJ- 24-607-AMG

In Custody at: Logan County

Inmate/Prisoner/Register No.:.29921-511 Previously Detained: Y [V! N [|

ATTORNEY/AGENCY INFORMATION:

[] Public Defender| Name: Craig Hoehns AUSA: Drew E. Davis

Address:
CJA Panel Agent /Agency: ATF
[J Retained
Phone: Local Officer/Agency:
CHARGING DETAILS
Count(s) U.S.C. Citation(s) Offense(s) Charged Penalty
1 18 U.S.C. § 933(a)(1) Trafficking Firearms 18 U.S.C. § 933(b) - NMT 15 years imprisonment;

$250,000 fine; or both; NMT 3 years S/R; 100 S/A

2-6 18 U.S.C. § 922(2)(1) Felon in Possession of a Firearm 18 U.S.C. § 924(a)(8) - NMT 15 years imprisonment;
$250,000 fine, or both; NMT 3 years S/R; $100 S/A

7-8 18 U.S.C. § 922(g)(1) Felon in Possession of Firearms 18 U.S.C. § 924(a)(8) - NMT 15 years imprisonment;
$250,000 fine, or both; NMT 3 years S/R; $100 S/A

10 18 U.S.C. § 922(a)(1)(A) E ing in the Busi f Deali 18 U.S.C. § 924(a)(1)(D) - NMT 5 years
18 U.S.C. § 923(a) Firearms Without a License mes ain 100 S/R $250,000 fine, or both, NMT 3 years
Signature of AUSA: S/ DREW E. DAVIS D Date: 09/05/2024
SEP 05 2024
Clerk, U.S. District Court me

WEST.DIST.OF OKLA.
